    Case 21-19558-SLM             Doc 177       Filed 08/09/23 Entered 08/09/23 14:32:54                     Desc Final
                                                Decree Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 21−19558−SLM
                                          Chapter: 11
                                          Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Four and Twenty LLC
   dba BML Blackbird, Inc., dba
   BML−Blackbird Theatrical Services
   20−21 Wagaraw Road
   Fair Lawn, NJ 07410
Social Security No.:

Employer's Tax I.D. No.:
  20−3833429

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Joseph L Schwartz − TR is discharged as trustee of the estate of the above named debtor(s)
and the bond is canceled; and the case of the above named debtor(s) is closed.


Dated: August 9, 2023                         Stacey L. Meisel
                                              Judge, United States Bankruptcy Court
